84 F.3d 1452
    318 U.S.App.D.C. 78
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.JOHNSTON, LEMON &amp; CO. INCORPORATED, Appellant,v.Bill G. SMITH;  Paula Michaels.
    No. 95-7114.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 11, 1996.
    
      Before:  WALD, SILBERMAN, and RANDOLPH, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellees' motion for summary affirmance and the response thereto, it is
    
    
      2
      ORDERED that the motion for summary affirmance be granted substantially for the reasons stated by the district court in its memorandum opinion filed May 3, 1995.   The merits of the parties' positions are so clear as to warrant summary action.  See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987 (per curiam);  Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 41.
    
    